        Case 4:24-cv-00953-P                Document 112      Filed 03/25/25         Page 1 of 1         PageID 2125
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Northern Distiict of Texas


         Outsourcing Facilities Association et al.             )
                             Plaintiff                         )
                         V.                                    )      Case No.     4:24-cv-953-P
        U.S. Food and Drug Administration et al.               )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:      The clerk of comt and all part ies of record

          I am admitted or othe1wise autho1ized to practice in this comt, and I appear in this case as counsel for:

          Eli Lilly and Company


Date: --===-==-==---
          03/25/2025                                                                      /s/ Ian B. Hatch
                                                                                         Attorney's signature


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